                                                                                        SLF Invoice sorted by Date

Date Billed                                                                                    Actual        Actual                Time    Amount
                   Billed By                           Description                                                     Rate                                                      Category
   On                                                                                          Time          Charge              Claimed   Claimed % Reduction
                               Preparation and drafting of Application to Confirm
3/17/2020 Rebecca Matlock      Arbitration Award                                                    0.7      $133.00   $190.00       0.7    $133.00         0% Case Initiation

                               Editing and revision of application to confirm arbitration
3/17/2020 Steve Rauls          award; draft civil cover sheet and prepare exhibits                  0.5      $112.50   $225.00       0.5    $112.50         0% Case Initiation
3/18/2020 Josh Sanford         Conference with RM: briefing, next steps                             0.1       $32.50   $325.00       0.1     $32.50         0% In-House Conference
3/19/2020 Josh Sanford         Examination of transmittal to clerk                                  0.1       $32.50   $325.00         0      $0.00       100% Case Management
                               Discussion of case status and directing case strategy to
3/19/2020     Josh Sanford     Attorney SR/CL                                                       0.1       $32.50   $325.00       0.1     $32.50         0%   In-House Conference
3/20/2020     Josh Sanford     Examination of filed motion                                          0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management
3/20/2020     Josh Sanford     Examination of clerk's notice                                        0.1       $32.50   $325.00         0      $0.00       100%   Case Management
3/20/2020     Josh Sanford     Examination of judge assignment                                      0.1       $32.50   $325.00         0      $0.00       100%   Case Management
3/20/2020     Josh Sanford     Work on Client's file: new case filing/complaint                     0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management
                               Receive, read and prepare response to email(s) from CL:
3/20/2020 Josh Sanford         case management                                                      0.1       $32.50   $325.00         0      $0.00       100% Case Management
                               Receive, read and prepare response to email(s) from CL
                               regarding docketing application to confirm arbitration
3/20/2020     Steve Rauls      award                                                                0.1       $22.50   $225.00         0      $0.00       100%   In-House Conference
3/22/2020     Josh Sanford     Examination of Clerk's notice                                        0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management
3/26/2020     Josh Sanford     Editing and revision of summons                                      0.1       $32.50   $325.00       0.1     $32.50         0%   Case Initiation
3/26/2020     Josh Sanford     Conference with TF: service of case                                  0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management
3/28/2020     Josh Sanford     Editing and revision of summonses                                    0.1       $32.50   $325.00         0      $0.00       100%   Case Initiation
3/30/2020     Josh Sanford     Examination of issued summons                                        0.1       $32.50   $325.00         0      $0.00       100%   Case Management
3/30/2020     Josh Sanford     Examination of request for issuance of summons                       0.1       $32.50   $325.00         0      $0.00       100%   Case Management
3/30/2020     Josh Sanford     Examination of IOM: service of lawsuit                               0.1       $32.50   $325.00         0      $0.00       100%   In-House Conference
                               Receive, read and prepare response to email(s) from staff
                               regarding proof of service; file proof of service on
 4/6/2020     Steve Rauls      corporate defendants                                                 0.3       $67.50   $225.00       0.3     $67.50         0% Case Management
                               Receipt and review of Proof of Service; save in file;
 4/6/2020     Staff            calendar Def's Answer; email SR                                      0.1        $6.00    $60.00         0      $0.00       100% Case Management
 4/7/2020     Josh Sanford     Examination of filed returns                                         0.1       $32.50   $325.00         0      $0.00       100% Case Management
                               Receive, read and prepare response to email(s) from OC:
4/17/2020 Josh Sanford         consent judgment                                                     0.1       $32.50   $325.00       0.1     $32.50         0% Consent Judgment
4/17/2020 Josh Sanford         Examination of OC email; review file                                 0.2       $65.00   $325.00       0.2     $65.00         0% Opposing Counsel Communications

4/20/2020 Josh Sanford         Receive, read and prepare response to email(s) from OC               0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Receive, read and prepare response to email(s) from OC-
4/20/2020     Josh Sanford     settlement                                                           0.1       $32.50   $325.00       0.1     $32.50         0%   Opposing Counsel Communications
4/21/2020     Josh Sanford     Examination of OC email                                              0.1       $32.50   $325.00       0.1     $32.50         0%   Opposing Counsel Communications
4/22/2020     Josh Sanford     Examination of text order                                            0.1       $32.50   $325.00         0      $0.00       100%   Case Management
4/22/2020     Josh Sanford     Examination of email to chambers from OC                             0.1       $32.50   $325.00       0.1     $32.50         0%   Court Communications
                               Receipt and review of Def's Order of Extension; save in file;
4/23/2020 Staff                update deadline                                                      0.1        $6.00    $60.00       0.1      $6.00         0% Case Management
5/8/2020 Josh Sanford          Examination of OC's proposed consent judgment                        0.2       $65.00   $325.00       0.2     $65.00         0% Consent Judgment
5/8/2020 Josh Sanford          Examination of OC: email                                             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications



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Date Billed                                                                                  Actual        Actual                Time    Amount
                   Billed By                           Description                                                   Rate                                                   Category
   On                                                                                        Time          Charge              Claimed   Claimed % Reduction
                               Telephone Conference(s) between Attorney and Client
                               regarding collection efforts and updated contact
5/15/2020 Steve Rauls          information                                                        0.2       $45.00   $225.00       0.2     $45.00         0% Client Communications
5/15/2020 Josh Sanford         Examination of email to OC re: consent judgment                    0.1       $32.50   $325.00       0.1     $32.50         0% Consent Judgment

                               Examination of Def.'s proposed consent judgment;
                               research governor's proclamation cited in Def.'s draft and
5/15/2020     Steve Rauls      email opposing counsel regarding proposed changes                  1.2      $270.00   $225.00       1.2    $270.00         0%   Consent Judgment
5/15/2020     Josh Sanford     Conference with SR: terms of settlement                            0.1       $32.50   $325.00       0.1     $32.50         0%   In-House Conference
5/18/2020     Josh Sanford     Examination of OC email                                            0.1       $32.50   $325.00       0.1     $32.50         0%   Opposing Counsel Communications
5/22/2020     Josh Sanford     Examination of response-filed                                      0.2       $65.00   $325.00       0.2     $65.00         0%   Case Management
                               Editing and revision of Def.'s proposed consent judgment;
5/22/2020 Steve Rauls          email to JS for review                                             0.8      $180.00   $225.00       0.8    $180.00         0% Consent Judgment
                               Receive, read and prepare response to email(s) from SR:
5/22/2020 Josh Sanford         offer from OC                                                      0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications

5/22/2020 Josh Sanford         Receive, read and prepare response to email(s) from OC             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Examination of Intra-office memo regarding case events
5/26/2020 Josh Sanford         and deadlines                                                      0.1       $32.50   $325.00         0      $0.00       100% Case Management
                               Discussion of case status and directing case strategy to
5/26/2020 Josh Sanford         Attorney SR                                                        0.1       $32.50   $325.00       0.1     $32.50         0% In-House Conference
                               Conference with JS regarding collections efforts and Def.'s
5/26/2020 Steve Rauls          proposed consent order                                             0.1       $22.50   $225.00       0.1     $22.50         0% In-House Conference
                               Receive, read and prepare response to email(s) from OC-
5/26/2020 Josh Sanford         extension                                                          0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
5/28/2020 Josh Sanford         Examination of OC email                                            0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
6/3/2020 Josh Sanford          Examination of OC email                                            0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications

 6/3/2020     Josh Sanford     Receive, read and prepare response to email(s) from OC             0.1       $32.50   $325.00       0.1     $32.50         0%   Opposing Counsel Communications
 6/4/2020     Josh Sanford     Examination of OC emails                                           0.2       $65.00   $325.00       0.2     $65.00         0%   Opposing Counsel Communications
 6/9/2020     Josh Sanford     Examination of text only order                                     0.1       $32.50   $325.00         0      $0.00       100%   Case Management
 6/9/2020     Josh Sanford     Examination of filed- motion for extension                         0.1       $32.50   $325.00       0.1     $32.50         0%   Case Management

 6/9/2020     Josh Sanford     Receive, read and prepare response to email(s) from OC             0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Receive, read and prepare response to email(s) from OC;
6/9/2020 Josh Sanford          review filings                                                     0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
6/15/2020 Josh Sanford         Examination of OC email                                            0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Receive, read and prepare response to email(s) from OC -
6/22/2020 Josh Sanford         offer                                                              0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
6/23/2020 Josh Sanford         Examination of OC email                                            0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Receipt and review of emails from opposing counsel
6/23/2020 Steve Rauls          regarding payment of judgment                                      0.1       $22.50   $225.00       0.1     $22.50         0% Opposing Counsel Communications
                               Receive, read and prepare response to email(s) from OC:
6/24/2020 Josh Sanford         payment                                                            0.1       $32.50   $325.00       0.1     $32.50         0% Opposing Counsel Communications
                               Examination of Intra-office memo regarding case events
 7/8/2020     Josh Sanford     and deadlines                                                      0.1       $32.50   $325.00         0      $0.00       100% Case Management

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Date Billed                                                                                Actual        Actual               Time   Amount
                Billed By                             Description                                                   Rate                                             Category
    On                                                                                     Time          Charge             Claimed Claimed % Reduction
 7/8/2020 Josh Sanford        Examination of Judgment                                          0.1         $32.50   $325.00      0.1   $32.50         0% Case Management
 7/8/2020 Josh Sanford        Examination of Opinion and Order                                 0.1         $32.50   $325.00      0.1   $32.50         0% Case Management
 7/8/2020 Staff               Work on Client's file: process ECF - Judgment                    0.1          $6.00    $60.00        0    $0.00      100% Case Management

                              Work on Client's file: process ECF - Order and Opinion
7/8/2020    Staff             Granting Motion to Confirm Arbitration Award                      0.1         $6.00    $60.00       0       $0.00     100% Case Management
                              Receive, read and prepare response to email(s) from
7/8/2020    Josh Sanford      Chambers                                                          0.1       $32.50    $325.00     0.1     $32.50        0% Court Communications
7/8/2020    Josh Sanford      Conference with RM re Fee Petition                                0.1       $32.50    $325.00     0.1     $32.50        0% Fee Petition
                              Receive, read and prepare response to email(s) from JS and
7/8/2020    Rebecca Matlock   SR about drafting a fee petition                                  0.1       $19.00    $190.00       0      $0.00      100%   Fee Petition
7/8/2020    Josh Sanford      Preparation and drafting of IOM re next steps                     0.1       $32.50    $325.00       0      $0.00      100%   In-House Conference
7/9/2020    Josh Sanford      Examination of emails with Chambers from OC                       0.1       $32.50    $325.00     0.1     $32.50        0%   Court Communications
7/9/2020    Rebecca Matlock   Preparation and drafting of Fee Petition                            1      $190.00    $190.00       1    $190.00        0%   Fee Petition
7/9/2020    Josh Sanford      Conference with SG re Fee Petition                                0.1       $32.50    $325.00       0      $0.00      100%   In-House Conference
                              Receive, read and prepare response to email(s) from OC re
7/10/2020 Josh Sanford        payment plan                                                      0.1       $32.50    $325.00     0.1     $32.50        0% Opposing Counsel Communications
                              Telephone Conference(s) with TF about drafting the Fee
7/13/2020   Rebecca Matlock   Petition                                                         0.1       $19.00 $190.00         0.1      $19.00       0%   In-House Conference
7/14/2020   Rebecca Matlock   Preparation and drafting of Fee Petition                         1.1    $ 209.00 $190.00          1.1   $ 209.00        0%   Fee Petition
7/15/2020   Rebecca Matlock   Preparation and drafting of Fee Petition                         1.6    $ 304.00 $ 190.00         1.6   $ 304.00        0%   Fee Petition
7/16/2020   Rebecca Matlock   Preparation and drafting of Fee Petition                         1.2    $ 228.00 $ 190.00         1.2   $ 228.00        0%   Fee Petition
                                                                                              15.4    $3,786.00                13.4   $3,239.00      13%   Total Fees




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